                                                                                        FILED
                                                                               2021 Dec-17 AM 11:06
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       WESTERN DIVISION


UNITED STATES OF AMERICA                    )
                                            )
             v.                             ) 7:21-cr-00304-LSC-SGC
                                            )
                                            )
DAYQUAN A. HALEY                            )

                              PLEA AGREEMENT

      The defendant agrees to plead guilty to COUNT ONE of the Indictment filed

in the above numbered and captioned matter. In exchange, the United States

Attorney, actin~ on behalf of the Government and through the undersigned Assistant

United States Attorney, agrees to recommend the disposition specified below,

subject to the conditions in paragraphs VII and VIII.

                       TERMS OF THE AGREEMENT

I. MAXIMUM PUNISHMENT

      The defendant understands that the maximum statutory punishment that may

be imposed for the crime of conspiracy to commit an offense (false statement to an

FFL), in violation of Title 18, -United States Code, Section 371, as charged in

COUNT ONE, is:

            a.     Imprisonment for not more than 5 years;

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                 b.       A fine of not more than $250,000; or,

                 c.       Both (a and b);

                 d.       Supervised release term of not more than 3 years; and

                 e.       Special Assessment Fee of $100.

        Furthermore, Title 18, United States Code, Section 924(e) states that:

in the case of a person who violates section 922(g) of this title and has three previous convictions by any

court referred to in section 922(g)(l) of this titlefor a violent felony or a serious drug offense, or both,

committed on occasions dffferent from one another, such person shall be fined under this title and

imprisoned not less than fifteen (15) years ... "

II. FACTUAL BASIS FOR PLEA

        The Government is prepared to prove, at a minimum, the following facts at

the trial of this case:

MARCH2020

        On March 11 , 2020, the South Carolina Highway Patrol stopped Dayquan A.

Haley and another individual, J.N., in Lexington, South Carolina. South Carolina

officers recovered nineteen firearms in the car with Haley. Haley and J.N. both lived

in Boston, Massachusetts. Law enforcement learned that individuals in Alabama

were purchasing firearms for Haley to sell in Massachusetts. During interviews after

the stop in Lexington, South Carolina, Haley asked for an attorney, but J.N. gave a

timeline to law enforcement. J.N. advised that Haley went from Boston,


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Massachusetts to Lexington, South Carolina on March 3, 2020. Haley left South

Carolina with a friend of his to go to Tuscaloosa, Alabama on March 5, 2020.

      J.N. stated that Haley got several of the firearms recovered in the vehicle from

someone who had purchased them at "Wade' s" on March 7, 2020 and March 9, 2020

when Haley was in Alabama. J.N. also stated that before Haley arrived back in South

Carolina on March 10, 2020, he s~opped in Atlanta and obtained some more firearms .

      Fourteen of the firearms that law enforcement recovered were purchased by

D.W. (a charged defendant) on March 7, 2020 and March 9, 2020 at Wade's Pawn

Shop in Tuscaloosa, Alabama. On April 15, 2020, one of the firearms purchased by

D.W. in Alabama on November 18, 2019, was used in a homicide in Boston,

Massachusetts. Details of the purchases in March 2020 by D.W. for Haley and others

are outlined below:

   1. On March 7, 2020, D.W. purchased mne firearms from Three Factors

      Unlimited, Inc., doing business as Wade's Pawn Shop, a licensed dealer of

      firearms within the meaning of Chapter 44, Title 18, United States Code. The

      firearms include:

         a.   Taurus .380 caliber pistol - serial number 1F1680013
         b.   Taurus .380 caliber pistol - serial number 1F160720
         c.   Taurus .380 caliber pistol- serial number1Fl00002
         d.   Taurus .380 caliber pistol - serial number 1F165063
         e.   SCCY 9mm pistol - serial number786 l 89
         f.   Ruger .380 caliber pistol - serial number 372229343
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          g. Keltec .380 caliber pistol - serial number J0Q32
          h. Tanfoglio .380 caliber pistol- serial number P001650
          1. Keltec .32 caliber pistol - serial number D0C89


      D.W. marked on the Department of Justice, Bureau of Alcohol, Tobacco,

Firearms and Explosives Form 4473, Firearm Transaction Record that he was the

actual purchaser of the firearms.

   2. On March 9, 2020, D.W. purchased five firearms from Three Factors

      Unlimited, Inc., doing business as Wade's Pawn Shop, a licensed dealer of

      firearms within the meaning of Chapter 44, Title 18, United States Code. The

      firearms include:

         a.   Taurus 9mm pistol -:- serial number AAL031399
         b.   Springfield 9mm pistol - serial number S3908642
         c.   Smith & Wesson 9mm pistol - serial number FXV9365
         d.   Taurus 9mm pistol - serial number TMU072 l 3
         e.   Glock .380 caliber pistol - serial number ADAT454

      D.W. marked on the Department of Justice, Bureau of Alcohol, Tobacco,

Firearms and Explosives Form 4473 , Firearm Transaction Record that he was the

actual purchaser of the firearms.

      Law enforcement then interviewed F. W. (a charged defendant) at F. W. 's

apartment and learned that F.W. and Haley are cousins. Haley asked F.W. ifhe knew

anyone that could purchase firearms. F.W. and Haley started dealing with D.W. and

D.W. purchased firearms for F.W. and Haley. Haley would tell F.W. when he was

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coming to Alabama to pick up firearms and F. W. would make sure he had some for

Haley to take back to sell in Massachusetts. F.W. stated that he set up the firearms

transactions with D.W., but everyone knew that D.W. was purchasing the firearms

for Haley. Haley paid F.W. $200 for arranging the firearms transactions. F.W.

confirmed that S.G. (a charged defendant) also bought firearms for Haley. F.W. told

law enforcement that Haley could charge more for the firearms in Massachusetts.

      F.W. also confi1med that right before the stop in South Carolina where Haley

had nineteen firearms in the vehicle with him, Haley had his fri~nd drive him from

South Carolina to Alabama. J.N. was in the car with Haley during the stop and F.W.

gave the same information about Haley's friend driving Haley to Alabama from

South Carolina.

      Law enforcement also interviewed F.W. 's roommate, J.R. Officers found

some gun locks in a drawer in a spare bedroom. J.R. said the gun locks were left

there by Haley. J.R. stated that Haley had someone from Tuscaloosa purchase the

firearms, and that when Haley was leaving, everything would not fit in Haley's

bookbag and the boxes, so he left the gun locks at the apartment. F.W. also confirmed

that Haley left the gun locks and that Haley got the firearms from Tuscaloosa.

      Officers also obtained some information from another individual who

described Haley's involvement with firearms. They advised that when Haley comes

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to Alabama, they know Haley ·is coming to get firearms to take them back to

Massachusetts to sell for double the money. They also advised that F.W. was Haley's

middleman and that there were individuals in Uniontown purchasing firearms for

Haley through F.W.

JULY2020

      On July 20, 2020, Uniontown police officers observed several people loitering

and drinking beer at E&C Event Center. A black Kia Sorento with a Maryland tag

did not leave the premises when instructed by law enforcement to leave. Haley and

D.C. (a charged defendant) were in the vehicle. The vehicle had been rented by

D.C. 's girlfriend. Officers saw marijuana inside the vehicle and smelled marijuana

coming from the vehicle. Haley was sitting in the front passenger seat of the vehicle

and D.C. approached officers and told them the vehicle was his.

      Officers searched the vehicle and found marijuana, a marijuana grinder, a set

of digital scales, and ammunition in the front of the vehicle. In the back of the

vehicle, officers found a suitcase. The suitcase had clothes in it, but under the

clothes, officers found ten firearms and additional ammunition. Seven of the

firearms appeared to be brand new and were still in the boxes. D.C. claimed the

firearms at the scene, so officers released Haley.




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      Eight of the firearms were purchased by J.B. (a charged defendant) on July 8,

2020 and on that same day (July 20, 2020) at Wade's Pawn Shop. Details of the

firearms purchases by J.B. in July 2020 are outlined below:

   1. On July 8, 2020, J.B. purchased five firearms from Three Factors Unlimited,

      Inc. , doing business as Wade's Pawn Shop, a licensed dealer of firearms

      within the meaning of Chapter 44, Title 18, United States Code. The firearms

      include:

            a. a Keltec 9mm pistol bearing serial number AAA627 ,
            b. a Taurus 9mm pistol bearing serial number TMC91151 (not
               recovered with HALEY and D.C. on July 20, 2020),
            c. a Taurus 9mm pistol bearing serial number ABE615559,
            d. a Taurus 9mm pistol bearing serial number ABE587326,
            e. a Taurus 9mm . pistol bearing serial number ABE605240 (not
               recovered with HALEY and D.C. on July 20, 2020)

   2. At Collins' direction, on July 20, 2020, J.B. purchased five firearms from

      Three Factors Unlimited, Inc. , doing business as Wade's Pawn Shop, a

      licensed dealer of firearms within the meaning of Chapter 44, Title 18, United

      States Code. The firearms include:

            a.   a SCCY 9mm pistol, bearing serial number 430214
            b.   a New England .32 caliber pistol bearing serial number NE005470,
            c.   a Taurus 9mm pistol bearing serial number ABE583755,
            d.   a Kahr .40 caliber pistol bearing serial number JN8651, and
            e.   a Taurus .380 caliber pistol bearing serial number 1F056812




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      Officers obtained video surveillance and learned that Haley was in the store

with J.B. and D.C. earlier that day before his contact with law enforcement. The

video showed that on July 20, 2020, the same black Kia Sorento pulled into the

parking lot at Wade's Pawn Shop. Haley exited from the front passenger seat. J.B.

exited from the back and D.C exited from the driver's seat. All three individuals

went into the store and all three individuals handled different firearms and took

photographs of firearms with their cell phones. Haley exited the store first and got

back into the front passenger seat. D.C. exited, then J.B exited with the firearms he

purchased.

      One of the other firearms in Haley and D.C's possession at the E&C Event

Center was purchased at Blue Bore Armory in Demopolis by another known

associate of Haley and D.C.

      Officers interviewed D.C. after they released Haley. D.C. stated that the

firearms belonged to his cousin, J.B, and that they were on the way to take them to

J.B. 's mother's house. D.C. told officers that him and Haley were with J.B. when

J.B. purchased the firearms. D.C. confirmed that Haley knew the firearms were in

the vehicle with him and Haley.

      At the request of ATF, law enforcement found Haley and brought him back

in for an interview. Haley denied any involvement in firearms trafficking. When

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confronted with being caught with nineteen firearms in South Carolina and with

what the others had said about him, Haley told the officers "that's their word against

mine." When confronted with messages between him and F.W., Haley stated that he

never gave money to anyone to buy firearms. Haley claimed that the nineteen

firearms in the vehicle in South Carolina belonged to someone else and he claimed

that the ten firearms in the vehicle in Uniontown belonged to D.C. Haley denied that

he had been to Wade's Pawn Shop with J.B. and D.C. earlier that day. However,

video surveillance showed that Haley was not being truthful.

      The defendant hereby stipulates that the facts stated above are

substantially correct and that the Court can use these facts in calculating the

defendant's sentence. The defendant further acknowledges that these facts do

not constitute all of the evidence of each and every act that the defendant

and/or any co-conspi.-ators may have committed.

                                  fh~~. ~
                                DAYQUAN A. HALEY

III. RECOMMENDED SENTENCE

      Subject to the limitations in paragraph VIII regarding subsequent conduct and

pursuant to Rule 1 l(c)(l)(B), Fed.R.Crim.P., the government will recommend the

following disposition:

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          (a)   That the defendant be awarded an appropriate reduction m

                offense level for acceptance of responsibility;

          (b)   That the defendant be remanded to the custody of the Bureau of

                Prisons and incarcerated for a term consistent within the

                guidelines;

          (c)   That following the said term of imprisonment, the defendant be

                placed on supervised release for a period to be determined by the

                court, subject to the standard conditions of supervised release as

                set forth in U.S.S.G § 5D1.3;

         (d)    That the defendant be required to pay a fine in accordance with

                the sentencing guidelines, said amount due and owing as of the

                date sentence is pronounced, with any outstanding balance to be

                paid in full by the expiration of the term of supervised release;

                and

         (e)    That the defendant pay a special assessment fee of $100, said

                amount due and owing as of the date sentence is pronounced.

IV. WAIVER OF RIGHT TO APPEAL AND POST-CONVICTION
  RELIEF

    In consideration of the recommended disposition of this case, I,

DAYQUAN A. HALEY, hereby waive and give up my right to appeal my
                              Page 10 of 17     Defendant's Initials   D,J/
conviction and/or sentence in this case, as well as any fines, restitution, and

forfeiture orders, the court might impose. Further, I waive and give up the right

to challenge my conviction and/or sentence, any fines, restitution, forfeiture

orders imposed or the manner in which my conviction and/or sentence, any

fines, restitution, and forfeiture orders were determined in any post-conviction

proceeding, including, but not limited to, a motion brought under 28 U.S.C. §

2255.

        The defendant reserves the right to contest in an appeal or post-

conviction proceeding either or both of the following:

             (a)   Any sentence imposed in excess of the applicable statutory

                   maximum sentence(s);

             (b)   Any sentence imposed in excess of the guideline sentencing

                   range determined by the court at the time sentence is

                   imposed; and

             (c)   Any claims of ineffective assistance of counsel.

        The defendant acknowledges that before giving up these rights, the

defendant discussed the Federal Sentencing Guidelines and their application to

the defendant's case with the defendant's attorney, who explained them to the




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defendant's satisfaction. The defendant further acknowledges and understands

that the government retains its,right to appeal where authorized by statute.

      I, DAYQUAN A. HALEY, hereby place my signature on the line directly

below to signify that I fully understand the foregoing paragraphs, and that I

am knowingly and voluntarily entering into this waiver.


                                 DAYQUAN A. HALEY

V. UNITED STATES SENTENCING GUIDELINES

      Defendant's counsel has explained to the defendant, that ir~ light of the United

States Supreme Court's decision in United States v. Booker, the federal sentencing

guidelines are advisory in nature. Sentencing is in the court's discretion and is no

longer required to be within the guideline range. The defendant agrees that, pursuant

to this agreement, the court may use facts it finds by a preponderance of the evidence

to reach an advisory guideline range, and the defendant explicitly waives any right

to have those facts found by a jury beyond a reasonable doubt.

VI. AGREEMENT NOT BINDING ON COURT

      The defendant fully and completely understands and agrees that it is the

Court's duty to impose sentence upon the defendant and that any sentence

recommended by the government is NOT BINDING UPON THE COURT, and

that the Court is not required to accept the government's recommendation. Further,
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the defendant understands that if the Court does not accept the government's

recommendation, the defendant does not have the right to withdraw the guilty plea.

VII. VOIDING OF AGREEMENT

      The defendant understands that should the defendant move the Court to accept

the defendant's plea of guilty in accordance with, or pursuant to, the provisions of

North Carolina v. Alford, 400 U.S. 25 (1970), or tender a plea of nolo contendere to

the charges, this agreement will become NULL and VOID. In that event, the

government will not be bound by any of the terms, conditions, or recommendations,

express or implied, which are contained herein.

VIII. SUBSEQUENT CONDUCT

      The defendant understands that should the defendant violate any

condition of pretrial release or cviolate any federal, state, or local law, or should

the defendant say or do something that is inconsistent with acceptance of

responsibility, the United States will no longer be bound by its obligation to

make the recommendations set forth in paragraph III of the Agreement, but

instead, may make any recommendation deemed appropriate by the United

States Attorney in his sole discretion.

IX. OTHER DISTRICTS AND JURISDICTIONS




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      The defendant understands and agrees that this agreement DOES NOT BIND

any other United States Attorney in any other district, or any other state or local

authority.

X. AGREEMENT REGARDING RELEVANT CONDUCT AND
 RESTITUTION

      As part of the defendant's plea agreement, the defendant admits to the above

facts associated with the charges and relevant conduct for any other acts. The

defendant understands and agrees that the relevant conduct contained in the factual

basis will be used by the Court to determine the defendant's range of punishment

under the advisory sentencing guidelines. The defendant admits that all of the crimes

listed in the factual basis are part of the same acts, scheme, and course of conduct.

This agreement is not meant, however, to prohibit the United States Probation Office

or the Court from considering any other acts and factors which may constitute or

relate to relevant conduct. Additionally, if this agreement contains any provisions

providing for the dismissal of any counts, the defendant agrees to pay any

appropriate restitution to each of the separate and proximate victims related to those

counts should there be any.

XI. TAX, FORFEITURE AND OTHER CIVIL/ADMINISTRATIVE
  PROCEEDINGS

      Unless   otherwise specified herein,        the defendant understands       and


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,..




      acknowledges that this agreement does not apply to or in any way limit any pending

      or prospective proceedings related to the defendant's tax liabilities, if any, or to any

      pending or prospective forfeiture or other civil or administrative proceedings.

            The defendant recognizes that pleading guilty may have consequences with

      respect to his immigration status if he is not a citizen of the United States. Under

      federal law, a broad range of crimes are removable offenses, including the offense(s)

      to which the defendant is pleading guilty.         Removal and other immigration

      consequences are the subject of a separate proceeding, however, and the defendant

      understands that no one, including his attorney or the district court, can predict to a

      certainty the effect of his conviction on his immigration status. The defendant

      nevertheless affirms that he wants to plead guilty regardless of any immigration

      consequences that his plea may entail, even if the consequence is his automatic

      removal from the United States.

      XII. DEFENDANT'S UNDERSTANDING

            I have read and understand the provisions of this agreement consisting of 17

      pages. I have discussed the case and my constitutional and other rights with my

      lawyer. I am satisfied with my lawyer's representation in this case. I understand that

      by pleading guilty, I will be waiving and giving up my right to continue to plead not

      guilty, to a trial by jury, to the assistance of counsel at that trial, to confront,

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cross-examine, or compel the attendance of witnesses, to present evidence in my

behalf, to maintain my privilege against self-incrimination, and to the presumption

of innocence. I agree to enter my plea as indicated above on the terms and conditions

set forth herein.

      NO OTHER PROMISES OR REPRESENTATIONS HAVE BEEN

      MADE TO ME BY THE PROSECUTOR, OR BY ANYONE ELSE,

      NOR HA VE ANY THREATS BEEN MADE OR FORCE USED TO

      INDUCE ME TO PLEAD GUILTY.

      I further state that I have not had any drugs, medication, or alcohol within the

past 48 hours except as stated here:

      I understand that this Plea Agreement will take effect and will be binding as

to the Parties only after all necessary signatures have been affixed hereto.

      I have personally and voluntarily placed my initials on every page of this

Agreement and have signed the signature line below to indicate that I have read,

understand, and approve all of the provisions of this Agreement, both individually

and as a total binding agreement.




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XIII. COUNSEL'S ACKNOWLEDGMENT

         I have discussed this case with my client in detail and have advised my client

of all of my client's rights and all possible defenses. My client has conveyed to me

that my client understands this Agreement and consents to all its terms. I believe the

plea and disposition set forth herein are appropriate under the facts of this case and

are in accord with my best judgment. I concur in the entry of the plea on the terms

and conditions set forth herein.




XIV. GOVERNMENT'S ACKNOWLEDGMENT

         I have reviewed this matter and this Agreement and concur that the plea and

disposition set forth herein are appropriate and are in the interests of justice.


                                   PRIM F. ESCALONA
                                   United States Attorney



            16'-\J-}\
            DATE
                                   \~
                                   KRlSTYPLES
                                   Assistant United States Attorney

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